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4 March 2022                                                       RECEIVED
                                                                         MAR O 7 2022
Mark B. Busby                                                           "'       -
Clerk of Court                                                     CLERK, U.S. DISTRICT COURT
                                                                  NORTH DISTRICT OF CALIFORNIA
United States District Court
450 Golden Gate Ave., Box 36060
San Francisco, CA 94102-3489



Subject: Facebook Tracking Followup


Dear Sir,



'(ou or the presiding judge on the case will probably tell me that I am too late to affect
the outcome of the Facebook Like tracking case and or receive justice for the many
years I had my human rights violated. Actively had my rights violated. We are talking
United Nations charter of human rights. Someone went out of their way to do what
they did to me Mr. Busby. Coordinated. The evidence is there, was there. I have photos
of it. Screen captures. You or the presiding judge on the case will probably tell me, if
only I had written to you in 2019, perhaps my sorry sad pathetic case could have been
resolved. You'll probably go on to tell me that the nature of the US legal system allows
guilty people to get away with horrendous things all the time. Particularly when victims
don't have the money to go up against deep pocketed wealthy defendants with an
attitude. There definitely won't be any justice then right Mr. Busby? Because it's foreign
countries with large financial stakes in the economy, rich powerful people and
corporations that own the government and legal system right Mr. Busby?

If that is so then it is no longer "We the people" in the United States Mr. Busby. It's
only some of the people who have privileged rights and those people steamroll less
privileged people to get their way and make money. That definitely does not sound in
line with the preamble and mission statement of the Constitution of the United States
Mr. Busby. I have no justice, I have no tranquility, there is no way to defend against this
type of attack (unless Facebook had the internal controls), while where is my general
welfare and the blessings of liberty? You can never have the blessings of liberty Mr.
Busby if you're running scared from agents of a foreign government who are using the
Facebook tracking network across the Internet to track you. I have tried, over many
years, it's impossible. I'd like to restore the feeling of tranquility to my life. Determining
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what happened to me and ensuring that it is not happening at the moment is very
important to me. That is why I write to you Mr. Busby. Perpetrators might never be
brought to justice but in case you or the presiding judge has or will write back to me,
my address is:

30204 Floto St.
No 361
La Grange, CA
95329

Not the Davis return address written on my envelope last week. I used to live there and
now I am using this new address. Mail is being forwarded but this is the updated
address for when you write back either positive or negative. Any answer I will take, it
will determine my next moves but an answer is required. Too many people have wound
down my time with this case by not replying. They have drawn out the time so that I
could not file a claim. Sadly the entire situation has made me lose confidence in the
r.eople and country known as the United States of America. My country and fellow
citizens because Americans say they stand up for justice, rights and morals except the
way Facebook did business and the way no one gets back to me makes Americans
complete hypocrites. Hypocrites because they have lost their moral compass arid way
in the world to be cool or make money. Prove me wrong Mr. Busby. Prove to me that
there might be an American with some moral compass still out there.?�.



Thank you. Sincerely,




Martin Suroor Corrado
wwrkit@icloud.corn
209-990-6577
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